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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

      *     *   *   *      *   *     *   *   *     *    *   *    *   *   *   *   *   *   *

United States of America,

                        Plaintiff,

      vs.                                              REPORT AND RECOMMENDATION

Todd Douglas Miller

                        Defendant.                          Crim. 05-147(02) (MJD/RLE)

      *     *   *   *      *   *     *   *   *     *    *   *    *   *   *   *   *   *   *

                                         I. Introduction

      This matter came before the undersigned United States Magistrate Judge

pursuant to a general assignment, made in accordance with the provisions of Title 28

U.S.C. §636(b)(1)(B), upon the Motion of the Defendant to Suppress Evidence

Obtained as a Result of Search and Seizure. A Hearing on the Motion was conducted

on July 13, 2005, at which time, the Defendant appeared personally, and by Andrea

K. George, Assistant Federal Defender, and the Government appeared by Thomas M.

Hollenhorst, Assistant United States Attorney.                  For reasons which follow, we

recommend that the Defendant’s Motion to Suppress Evidence Obtained as a Result

of Search and Seizure be denied.

                                     II. Factual Background
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      The Defendant has been charged with one Count of possession of cocaine base,

in violation of Title 21 U.S.C. §§844(a); one Count of aiding and abetting possession

with intent to distribute cocaine, in violation of Title 21 U.S.C. §841(a)(1), and

(b)(1)(C); and one Count of conspiracy to commit a number of offenses involving the

possession and distribution of controlled substances, in violation of Title 21 U.S.C.

§846, as well as Title 21 U.S.C. §§841(a)(1)(A), (b)(1)(A), 859(a), 860(a), 861(a)(1),

and (a)(3). The events which gave rise to the conspiracy charge are alleged to have

taken place on a continuing basis from the early 1990s until May 3, 2005, while the

events which gave rise to the possession, and aiding and abetting charges, are alleged

to have taken place on June 9, 2001, and November 28, 2001, respectively. All of

these events are alleged to have occurred in this State and District.

      The Defendant has moved to Suppress evidence obtained as a result of a traffic

stop, and subsequent vehicle search, which occurred on November 28, 2001, upon the

assertion that the law enforcement officers lacked probable cause to execute the stop

and search.    At the Hearing on the Motion, testimony was adduced from Steve

Kritzeck (“Kritzeck”), who is a Detective with the Hennepin County Sheriff’s Office,

and who had previously been assigned to the narcotics unit, which investigates

controlled substance transactions. Kritzeck testified that, on November 28, 2001, he


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was contacted by a Confidential Informant (“CI”), who advised that he was at “Senior

G’s” bar, which was located near the intersection of Lake Street and Cedar Avenue,

in Minneapolis, Minnesota, and that he had learned of three individuals, who were

present at “Senior G’s,” and who had traveled from the Red Lake Indian Reservation,

in order to purchase drugs from an individual described as a Hispanic male. The CI

informed Kritzeck that, of the three individuals, two were males and one was a female,

and all were described as being Native Americans. The CI further informed Kritzeck

that the three individuals intended to return to the Red Lake Indian Reservation

shortly after the completion of the drug transaction.

         Kritzeck testified that the CI had provided reliable information in the past,

dating back to 1998; that information provided by the CI had resulted in Federal

Indictments on approximately five (5) or six (6) occasions; and that, as of the date on

which this information was provided, the CI had never given inaccurate information.1

He also testified that a high degree of drug activity was known to take place at “Senior

G’s.”2




         1
       Kritzeck’s testimony suggests that the CI stopped cooperating with law
enforcement officers sometime in 2003.
         2
             Kritzeck testified that “Senior G’s” is no longer in business.

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      Based on the information provided by the CI, Kritzeck, along with several other

officers, set up surveillance near “Senior G’s,” at approximately 5:30 o’clock p.m.

Shortly thereafter, Kritzeck observed a Chevrolet Suburban type vehicle, which

matched the description provided by the CI, and bore license plates issued by the Red

Lake Indian Reservation. The Suburban parked near the vicinity of Senior G’s, and

two men and one woman, who were later identified as Warren Blackcloud

(“Blackcloud”), the Defendant, and Rhonda Garrigan (“Garrigan”), emerged from the

vehicle, and entered “Senior G’s.”    Kritzeck testified that he believed that these

individuals were of Native American heritage, based on their physical characteristics.

      A short time later, the Defendant and Blackcloud returned to the Suburban, and

drove to a residence located at 3320 21st Avenue South, in Minneapolis, and entered

that residence. They were then observed leaving the house, and driving into an

alleyway, where they parked the vehicle. After spending approximately seven (7)

minutes in the alleyway, the two men returned to “Senior G’s,” and re-entered the bar.

      Several minutes later, the officers observed the Defendant, Blackcloud, and

Garrigan, exit the bar, along with two other women. The two women were transported

to a nearby residence, then the Suburban proceeded to westbound Interstate 94.




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Testimony from Kritzeck suggests that Interstate 94 is the most direct route from

Minneapolis, when destined for the Red Lake Indian Reservation.

      Based on the information provided by the CI, and the officers’ independent

observations, one of the officers contacted law enforcement personnel in Wright

County, Minnesota, and sought their assistance in effectuating a traffic stop on the

Suburban.   The Wright County officers were informed that the Suburban was

traveling towards Wright County, on Interstate 94, and that there was probable cause

to stop and search the Suburban for evidence of a drug transaction. The Wright

County officers then stopped the Suburban, and detained Blackcloud, Garrigan, and

the Defendant, until the arrival of the Hennepin County officers.     The Hennepin

County officers proceeded to search the Suburban, and discovered a controlled

substance -- cocaine -- in the center console area of the vehicle. At the time of the

stop, the Suburban was being driven by Garrigan, the Defendant was a passenger in

the front seat, and Blackcloud was a passenger in the back seat. The registered owner

of the vehicle was determined to be Sheldon Cook (“Cook”), who was apparently a




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friend of the Defendant, and who was recently convicted of Federal drug offenses. 3

See, United States v. Cook, Crim. File No. 04-237 (DSD/RLE).

                                   III. Discussion

      As an initial matter, the Government has argued that the Defendant does not

have “standing” to challenge the traffic stop, and subsequent search of the Suburban.4

In support of its argument, the Government notes that the Defendant was not the

driver of the Suburban, and has made no showing of any ownership interest in that

vehicle. The Defendant contends that the vehicle was entrusted to him, Blackcloud,

and Garrigan, by its registered owner -- Cook -- who the Defendant describes as a

      3
       While the Defendant urges that he and Cook were friends, there is nothing on
the Record to establish as much, short of counsel’s representations. However, since
the asserted friendship, between Cook and the Defendant, has no bearing on our
analysis, we need not ascertain the accuracy of the Defendant’s representation.
      4
       With respect to “standing,” we follow our Court of Appeals’ approach, as
explained in United States v. Green, 275 F.3d 694, 698 n. 3 (8th Cir. 2001):

             We use the term “standing” as a shorthand reference to the
             issue of whether the defendants’ Fourth Amendment
             interests were implicated by the challenged government
             actions. “Technically, the concept of ‘standing’ has not had
             a place in Fourth Amendment jurisprudence * * * since the
             Supreme Court in Rakas v. Illinios, 439 U.S. 128, 99 S.Ct.
             421, 58 L.Ed.2d 386 (1978), indicated that matters of
             standing in the context of searches and seizures actually
             involved substantive Fourth Amendment law.” United
             States v. Sanchez, 943 F.2d 110, 113 n. 1 (1st Cir. 1991).

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friend.     Thus, the Defendant maintains that he had a “legitimate expectation of

privacy” in the vehicle, which affords him standing to challenge the vehicle’s search.

          “Fourth Amendment rights are personal rights that may not be asserted

vicariously.” United States v. Barragan, 379 F.3d 524, 529 (8 t h Cir. 2004), citing

Rakas v. Illinois, 439 U.S. 128, 133-134 (1978). “Consequently,” in order to assert

a Fourth Amendment right, “the defendant must demonstrate ‘a legitimate expectation

of privacy in the area searched or the item seized.’” United States v. Davis, 103 F.3d

660, 671 (8th Cir. 1996), quoting Rakas v. Illinois, supra at 138-144; see United States

v. Bach, 310 F.3d 1063, 1066 (8th Cir. 2002).

          “To establish a legitimate expectation of privacy, the defendant must

demonstrate: (1) a subjective expectation of privacy; and (2) that this expectation is

one that society is prepared to recognize as objectively reasonable.” United States v.

Green, 275 F.3d 694, 699 (8th Cir. 2001), citing United States v. Muhammad, 58 F.3d

353, 355 (8th Cir. 1995); see Minnesota v. Carter, 525 U.S. 83, 88 (1998); Rakas v.

Illinois, supra at 143, n. 12. Under this analysis, both the Supreme Court, and our

Court of Appeals have held, that a passenger of a vehicle does not have standing to

challenge a search of the vehicle where he cannot show a possessory or privacy

interest in the vehicle. Rakas v. Illinois, supra at 148-149; United States v. Barragan,


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supra at 529(In the absence of an ownership interest, “a mere passenger * * * could

not claim a legitimate privacy interest in one of his ‘effects’ * * * and he lacks

standing to challenge the search of the vehicle.”); United States v. Green, supra at 699

(“As a passenger, [the defendant] does not have a right to challenge the search of the

car.”).

          The Defendant has not shown any ownership, possession, or control of the

Suburban, and therefore, has failed to establish that he had a legitimate expectation

of privacy in that vehicle.5 Rather, the Record reflects that Cook was the owner of the

vehicle and, at the time of the search, the vehicle was being driven by Garrigan. Thus,

the Defendant does not have standing to challenge the search of the vehicle. While

not argued by the Defendant, we recognize that, “even though [the Defendant] lacked

a possessory or property interest in the motor vehicle that would enable him to directly

challenge the search, he may still contest the lawfulness of his own detention and seek



          5
        The Defendant suggests that the references in Kritzeck’s police report to
Blackcloud’s statement, “that he and Miller then proceeded to drive around south
Minneapolis smoking joints of marijuana,” and Garrigan’s comment that “she along
with Todd Miller and Loren Blackcloud, left the area of Bemidji and drove down to
the Minneapolis area,” allow a reasonable inference that the Defendant had been
driving Cook’s vehicle, or had been entrusted, by Cook, with possession of the
vehicle. See Government Exhibit 1, at p. 00054. We are unable to draw any such
inference on this ethereal thread of logic.

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to suppress evidence as the fruit of his illegal detention.” United States v. Green, 275

F.3d 694, 699 (8th Cir. 2001), citing United States v. Kreisel, 210 F.3d 868, 869 (8th

Cir. 2000); United States v. Ameling, 328 F.3d 443, 446 n. 3 (8th Cir. 2003); United

States v. Lyton, 161 F.3d 1168, 1170 (8th Cir. 1998). However, such an argument

would be unavailing, as the investigating officers plainly had a reasonable suspicion

to stop the Suburban, in which the Defendant was a passenger. See United States v.

Ameling, supra at 447-48. We do not separately pursue that line of inquiry, for we

conclude that the investigating officers had probable cause for the stop, and the search,

which is a more exacting standard than that which justifies an investigatory stop. Id.

at 447 (“While ‘an officer’s reliance on a mere hunch is insufficient to justify a stop,

the likelihood of criminal activity need not rise to the level required for probable

cause, and it falls considerably short of satisfying a preponderance of the evidence

standard.’”), quoting United States v. Arvizu, 534 U.S. 266, 274 (2002). Accordingly,

we proceed to the issue of probable cause.

      A.     Standard of Review. “Searches without a warrant are per se unreasonable

subject to a few well established exceptions.” United States v. Hill, 386 F.3d 855, 858

(8th Cir. 2004).   One exception to the Warrant requirement is the “automobile

exception,” “which authorizes officers to search a vehicle without a warrant if they


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have probable cause to believe the vehicle contains contraband.” Id., at 558, citing

United States v. Wells, 347 F.3d 280, 287 (8th Cir. 2003). As our Court of Appeals

has reiterated:

             As long as law enforcement officials have probable cause,
             they may search an automobile without a warrant under the
             automobile exception. See Pennsylvania v. Labron, [518
             U.S. 938, 940] (1996); [United States v.] Martinez, 78 F.3d
             [399] at 401 [(8th Cir. 1996)]. Probable cause exists when,
             given the totality of the circumstances, a reasonable person
             could believe there is a fair probability that contraband or
             evidence of a crime would be found in a particular place.
             See Illinois v. Gates, [462 U.S. 213, 238] (1983).
United States v. Fladten, 230 F.3d 1083, 1085 (8th Cir. 2000).

Of course, “[p]robable cause demands not that an officer be ‘sure’ or ‘certain’ but only

that the facts available to a reasonably cautious man would warrant a belief ‘that

certain items may be contraband or stolen property or useful as evidence of a crime.’”

Id.

       B.     Legal Analysis. Plainly, the automobile exception applies to the search

of the Suburban, and therefore, the search will be permissible so long as it was

supported by sufficient probable cause. When probable cause is based on information

provided by an informant, “‘a key issue is whether that information is reliable.’”

United States v. Koons, 300 F.3d 985, 993 (8th Cir. 2002), quoting United States v.

Fulgham, 143 F.3d 399, 401 (8th Cir. 1998); see also, United States v. Reivich, 793

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F.2d 957, 959 (8th Cir. 1986)(“[T]he informant’s reliability, veracity, and basis of

knowledge are relevant considerations -- but not independent, essential elements -- in

finding probable cause.”). As our Court of Appeals has stated:

             In [Illinois v.] Gates, the Supreme Court explained that an
             informant’s reliability and basis of knowledge “are better
             understood as relevant considerations in the totality-of-the-
             circumstances analysis that traditionally has guided
             probable-cause determinations: a deficiency in one may be
             compensated for, in determining the overall reliability of a
             tip, by a strong showing as to the other, or by some other
             indicia of reliability.” * * * 462 U.S. at 233, 103 S.Ct. at
             2329.
United States v. Olson, 21 F.3d 847, 850 (8th Cir.), cert. denied, 513 U.S. 888 (1994).

As a result, “‘an informant’s basis of knowledge [is] an important consideration, but

not a rigid requirement, in the probable cause determination.’” Id., citing United

States v. Anderson, 933 F.2d 612, 615 (8th Cir. 1991).

      Consequently, the “core question” is whether the information provided by the

informant was reliable. See, United States v. Williams, 10 F.3d 590, 593 (8th Cir.

1993)(“The core question in assessing probable cause based upon information

supplied by an informant is whether the information is reliable.”). Moreover, “[t]he

statements of a reliable confidential informant are themselves sufficient to support

probable cause for a search warrant.” United States v. Wright, 145 F.3d 972, 975 (8th

Cir. 1998), cert. denied, 525 U.S. 919 (1998). In turn, an informant is deemed reliable

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when his/her statements are corroborated by independent evidence. See, United States

v. Carpenter, 341 F.3d 666, 669 (8th Cir. 2003)(“[C]orroboration of minor, innocent

details may support a finding of probable cause.”), citing United States v. Tyler, 238

F.3d 1036, 1039 (8th Cir. 2001); see also, United States v. Koons, supra at 993

(“‘Information may be sufficiently reliable to support a probable cause finding if the

person providing the information has a track record of supplying reliable information,

or if it is corroborated by independent evidence.’”), quoting United States v. Fulgham,

supra at 401; United States v. Formaro, 152 F.3d 768, 770 (8th Cir.

1998)(“[C]orroboration of the confidential informant’s information by independent

investigation is an important factor in the calculus of probable cause.”).

      Here, we find the Kritzeck reasonably relied on the information provided by the

CI, in his determination that evidence of a controlled substance transaction was likely

contained within the Suburban. The Defendant challenged Kritzeck’s reliance on the

CI’s information, since Kritzeck did not ask, and did not know the precise basis for

the CI’s knowledge, and since none of the officers observed a Hispanic male approach

any of the three individuals, or observe the occurrence of drug transaction. However,

under the law of this Circuit, such information is not necessary to establish the CI’s

reliability, where that reliability is reflected in the Record in totality. See United


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States v. Lucca, 377 F.3d 927, 933 (8th Cir. 2004)(rejecting argument that probable

cause was wanting because the Affidavit in support of a Search Warrant “did not

provide the factual basis for the CRI’s knowledge.”); United States v. Wright, supra

at 975 (same). Instead, “[t]he reliability of a confidential informant can be established

if that person has a history of providing law enforcement officials with truthful

information.” United States v. Wright, supra at 975, citing United States v. Williams,

supra at 593.

      Kritzeck testified that the CI had provided law enforcement officers with

reliable information for approximately three years prior to the November 28, 2001,

and that his information had resulted in a number of Federal Indictments. Kritzeck

also testified that, up to that point, the CI had never provided incorrect information.

Therefore, based on the CI’s history of providing reliable information, the officers

were justified in relying on the CI’s information, in concluding that there was

probable cause to believe that the Suburban contained evidence of an illegal drug

transaction.

      In addition, some of the details provided by the CI were independently

corroborated by the officers’ own surveillance. Specifically, the Suburban matched

the description of the vehicle described by the CI, and the individuals who were


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observed inside of the vehicle appeared to be of the same gender and heritage as was

described by the CI. As well, Senior G’s was known, by Kritseck, to be a location

where drug trafficking occurred. Moreover, the license plate on the Suburban proved

to have been issued by the Red Lake Indian Reservation where, according to the CI,

the persons who were to effectuate the drug purchase were traveling from, and

returning. While no drug transaction was specifically observed, Kritzeck testified that

the movements of the Defendant, Blackcloud, and Garrigan, were consistent with

those of persons who were engaged in a narcotics transaction, in that the transacting

parties often arrive at different times, and vary their whereabouts and movements.

Lastly, the route of the Suburban, along westbound Interstate 94, was consistent with

the representation of the CI that the three individuals planned to travel back to the Red

Lake Indian Reservation, after the completion of the controlled substance transaction.6

      We are not confronted, here, with an anonymous tip, which found no

independent corroboration. Rather, we have an experienced CI, who proved to be


      6
        The Defendant criticizes the CI’s reliability, as the CI had related that the three
suspects were at Senior G’s when he contacted Kritseck, and Kritseck testified that,
when he pursued the CI’s tip and traveled to Senior G’s, he observed the three arrive
after him. Kritseck testified, however, that the Defendant, and one or more of his
companions, had left Senior G’s on at least one occasion, and we have no reason to
disregard the CI’s reliability on the assumption that they had not left that location on
a previous occasion, before Kritseck arrived on the scene.

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reliable in all of his confidences to law enforcement in the past, and who shared

information with Kritseck, which was confirmed, in many respects, by the officers,

including Kritseck, who were conducting the surveillance of the three suspects.

Therefore, based upon the totality of the circumstances, we find that the search of the

Suburban for evidence of a narcotics transaction was adequately supported by

probable cause, and we recommend that the Defendant’s Motion to Suppress the

evidence, which was secured in the search of the Suburban, be denied.

      NOW, THEREFORE, It is --

      RECOMMENDED:

      That the Defendant’s Motion to Suppress Evidence Obtained as a Result of

Search and Seizure [Docket Nos. 35] be denied.




Dated: July 22, 2005                     s/Raymond L. Erickson
                                         Raymond L. Erickson
                                         UNITED STATES MAGISTRATE JUDGE


                                      NOTICE

      Pursuant to Rule 45(a), Federal Rules of Criminal Procedure, D. Minn.

LR1.1(f), and D. Minn. LR72.1(c)(2), any party may object to this Report and



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Recommendation by filing with the Clerk of Court, and by serving upon all parties by

no later than August 8, 2005, a writing which specifically identifies those portions

of the Report to which objections are made and the bases of those objections. Failure

to comply with this procedure shall operate as a forfeiture of the objecting party's right

to seek review in the Court of Appeals.

      If the consideration of the objections requires a review of a transcript of a

Hearing, then the party making the objections shall timely order and file a complete

transcript of that Hearing by no later than August 8, 2005, unless all interested

parties stipulate that the District Court is not required by Title 28 U.S.C. §636 to

review the transcript in order to resolve all of the objections made.




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